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                  UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT
                         Appeal No.: 21-13469-GG
                      LT Case No.: 0:20-cv-60666-AHS

JESSICA GRAVES,

     Appellant,

v.

BRANDSTAR STUDIOS, INC.,

     Appellee.
__________________________/

     APPEAL FROM THE DISTRICT COURT FOR THE SOUTHERN
                   DISTRICT OF FLORIDA




                          APPELLEE’S BRIEF




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           APPELLEE’S CERTIFICATE OF INTERESTED PERSONS

      Counsel for Appellee, BrandStar Studios, Inc., hereby certifies, in accordance

with Fed. R. App. P. 26.1, 11th Cir. R. 26.1-1 and the Order dated October 14, 2021,

that the following persons may have an interest in the outcome of this case:

                                Interested Persons

      1.     Honorable Raag Singhal, United States District Judge

      2.     Jessica Graves, Appellant

      3.     Cornell & Associates, P.A., Counsel for Appellant

      4.     G. Ware Cornell, Jr., Counsel for Appellant

      5.     BrandStar Studios, Inc., Appellee

      6.     Richard D. Tuschman, P.A., Counsel for Appellee

      7.     Richard D. Tuschman, Counsel for Appellee



DATED: February 3, 2022
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              STATEMENT REGARDING ORAL ARGUMENT

      Appellee, BrandStar Studios, Inc. (“BrandStar”), believes that oral argument

is unnecessary. There are no unique legal issues, as this case involves the

straightforward application of well-established legal principles to undisputed

material facts. Thus, the Court’s decisional process would not be significantly aided

by oral argument.




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                         STATEMENT OF THE ISSUES1

        1.    Did the District Court err in dismissing Graves’ claim under the Family

and Medical Leave Act (“FMLA”) (Count III) on the grounds that she did not

provide the requisite notice to BrandStar of her need for FMLA leave?

        2.    Did the District Court err in dismissing Graves’ claim for associational

discrimination under the Americans with Disabilities Act (“ADA”) (Count I) on the

grounds that Graves failed to identify any evidence that her termination was a result

of her father’s illness, as opposed to her well-documented work performance

deficiencies?

        3.    Did the District Court impermissibly weigh evidence and fail to follow

controlling Supreme Court precedent?




1
 For the Court’s convenience, BrandStar is listing the issues in the same order as
Graves has listed them in her brief.

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                          STATEMENT OF THE CASE

      BrandStar is a content marketing and production company that provides a

wide range of media services, including television production for such shows as

Military Makeover and Designing Spaces. [Doc. 22-4, p. 1] BrandStar hired

Appellant, Jessica Graves, as a producer/writer in January 2017. [Doc. 22-1, p. 24]

BrandStar terminated Graves’ employment in May 2018 based on longstanding

performance deficiencies – poor communication and attendance, not completing her

work, and being disrespectful to her supervisors. [Doc. 22-4, p. 2] Graves’

supervisors, Aharon Bettan and Arash Farsi, documented these deficiencies and

counseled Graves about them for nine months before her termination. [Doc. 22-4, p.

2] Farsi reported that Graves frequently failed to report to work on time or left early

for personal reasons. [Doc. 22-4, p. 2] Graves admitted that Bettan repeatedly

objected to her “coming and going.” [Doc. 22-1, p. 41] Graves admitted that Bettan

believed Graves was disrespectful to him and that he believed Graves was

unprepared for edit sessions. [Doc. 22-1, pp. 60-61] Graves admitted that editors did

not feel they were getting the support from her they needed. [Doc. 22-1, p. 73]

Graves admitted that these editors also believed she was unprepared for edit

sessions. [Doc. 22-1, p. 73] Graves admitted “it’s possible” she was not getting all

her work done. [Doc. 22-1, p. 67] There is no evidence that any of these issues had

any connection with the illness of Graves’ father, who was living in Pennsylvania



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during Graves’ employment and who happened to become critically ill a few weeks

before Graves’ termination. [Doc. 22-4, p. 2-3] Nevertheless, this alleged connection

is the foundation of Graves’ lawsuit.

      On May 20, 2020, Graves filed her Amended Complaint [Doc. 8] alleging that

BrandStar violated the Americans with Disabilities Act (“ADA”), the Florida Civil

Rights Act, and the Family and Medical Leave Act (“FMLA”), when it terminated

her employment while she was preparing to move her father from Pennsylvania to

Florida. In Count I, Graves asserted that BrandStar violated the ADA by

discriminating against Graves “as the caregiver for a close family member in

violation of the ADA.” [Doc. 8, p. 7] In Count II, Graves alleged that BrandStar

“deprived Plaintiff of her rights under the Florida Civil Rights Act.” [Doc. 8, p. 8]

(Although Graves did not specify those “rights,” it became clear in her response to

Defendant’s Motion for Summary Judgment that she was alleging the same violation

as in Count I – associational disability discrimination. [Doc. 25, p. 14]) In Count III,

Graves alleged that BrandStar interfered with her rights under the FMLA when it

failed to advise her of her FMLA rights and subsequently terminated her

employment. [Doc. 8, p. 9]

      On December 18, 2020, upon the close of discovery, BrandStar moved for

summary judgment [Doc. 21] on the following grounds:

      •      Graves’ claim under the ADA (Count I) fails as a matter of law because:


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(a) Graves was indisputably terminated for performance deficiencies unrelated to the

care for her father; and (b) even assuming the truth of Graves’ claim that she was

terminated because she could not travel for work while preparing to move her father

to Florida, this would not support an association-based discrimination claim under

the ADA. The purpose of the associational provision of the ADA is to prevent an

employer from making an unfounded assumption that an employee who has an

association with a disabled person will miss work to care for that person. The ADA

does not require employers to accommodate nondisabled employees to care for a

disabled family member or, in Graves’ case, to prepare to move that person from

one state to another.

      •      Graves’ claim under the Florida Civil Rights Act (Count II) fails

because: (a) there is no cause of action under the Florida Civil Rights Act for

associational discrimination; and (b) even assuming such a claim existed, it would

fail for the same reasons that Graves’ claim for associational discrimination under

the ADA fails.

      •      Graves’ interference claim under the FMLA (Count III) fails because:

(a) Graves did not put BrandStar on notice that she needed leave under the FMLA

when she missed two days of work to visit her father in the hospital; (b) Graves was

not prejudiced by BrandStar’s failure to designate her two-day absence from work

as FMLA-qualifying; (c) Graves did not ask for any leave to prepare to move her


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father from Pennsylvania to Florida; (d) such preparations do not constitute “care”

for a family member under the FMLA; and (e) Graves’ employment was

indisputably terminated for performance deficiencies unrelated to any possible

FMLA-qualifying event.

      Graves filed a Memorandum in Opposition to BrandStar’s Motion for

Summary Judgment on January 11, 2021. [Doc. 25] BrandStar filed a Reply

Memorandum on January 19, 2021. [Doc. 29]

      On April 7, 2021, Graves filed a Notice of Supplemental Authority [Doc. 35]

and sought leave to file additional briefing in view of this Court’s decision the

previous day in Ramji v. Hospital Housekeeping Sys., LLC, 992 F.3d 1233 (11th Cir.

2021). BrandStar opposed the request for supplemental briefing. [Doc. 37] On July

6, 2021, the District Court granted Graves’ motion [Doc. 40] Thereafter, both parties

briefed the applicability of Ramji [Docs. 42 & 43]

      On September 17, 2021, the District Court granted BrandStar’s motion for

summary judgment. [Doc. 44]

      On October 11, 2021, Graves filed a Notice of Appeal [Doc. 48] Graves is

appealing the District Court’s order as to Count I (ADA) and Count III (FMLA).

Graves has withdrawn her appeal as to Count II, her claim for associational

discrimination under the Florida Civil Rights Act, in light of this Court’s recent

holding in Matamoros v. Broward Sheriff's Office, 2 F.4th 1329 (11th Cir. 2021).



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[Brief at 13] In Matamoros, this Court held that the Florida Civil Rights Act does

not prohibit discrimination based on a plaintiff’s association with a disabled person.

Id. at 1332.

                       SUMMARY OF THE ARGUMENT

      The District Court properly dismissed Graves’ FMLA interference claim

(Count III) because Graves did not notify BrandStar of her need for FMLA leave.

Absent such notice from Graves, BrandStar’s mere knowledge that Graves’ father,

who was living in Pennsylvania, had a serious medical condition did not obligate

BrandStar to inform Graves that she was eligible for leave under the FMLA. Graves

did not request leave in the weeks preceding her termination; she testified that she

wanted to keep working. [Doc. 22-1, p. 115] Moreover, the reason Graves claims

that BrandStar was on notice of her need for leave – that BrandStar knew she was

planning to convert her garage into a studio apartment and move her father to Florida

– is not the type of care for a family member that is protected by the FMLA.

Additionally, even assuming arguendo that BrandStar had a duty to advise Graves

of her FMLA eligibility, Graves’ interference claim still fails because she cannot

show that BrandStar’s failure to do so resulted in any adverse employment action.

Graves was terminated because of poor communication and attendance, for not

completing her work, and for being disrespectful, and because her performance was

continuing to deteriorate despite numerous counselings from her supervisors, who



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were continuing to receive complaints about Graves from her co-workers. [Doc. 22-

4, p. 2] Graves’ father’s medical condition had no bearing on the termination

decision. [Doc. 22-4, p. 2] As the District Court noted, [t]here is no evidence to

suggest otherwise despite Plaintiff’s claims to the contrary.” [Doc. 44, p. 6]

      The District Court properly dismissed Graves’ claim for associational

discrimination under the ADA (Count I) because she failed to identify any evidence

that her termination was a result of her father’s illness, as opposed to her well-

documented performance deficiencies. [Doc. 44, p. 9] In the District Court, Graves

speculated that BrandStar terminated her because she was unable to travel due to her

father’s future move to Florida. [Doc. 22-1, pp. 112-113, 115-116] But even if this

theory were true (and there is no evidence supporting it), it would not support

Graves’ claim of associational discrimination because BrandStar had no duty under

the ADA to accommodate Graves’ inability to travel.

      In granting summary judgment to BrandStar, the District Court did not

impermissibly weigh the evidence in violation of Supreme Court precedent.

Contrary to Graves’ argument, the District Court did not reject Graves’ assertion that

BrandStar failed to notify her of her eligibility to take FMLA leave. The District

Court’s ruling that Graves did not notify BrandStar of her need for FMLA leave was

correct and means that BrandStar had no obligation to notify Graves of her FMLA

eligibility. FMLA regulations and case law are clear on this point – an employer has



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no obligation to notify an employee of her eligibility for FMLA leave until the

employee requests FMLA leave, or the employer acquires knowledge that the

employee’s leave may be for an FMLA-qualifying reason. See 29 C.F.R.

§825.300(b)(1). Neither happened in this case. Graves’ argument that the District

Court “sarcastically discredited” Graves’ evidence is also without merit. The

evidence at issue – that Graves accidentally clocked in to work when she traveled to

Pennsylvania to visit her father in the hospital – was not disputed by BrandStar. The

District Court’s ruling was based on the undisputed facts of the case, with all

inferences resolved in Graves’ favor.

              ARGUMENT AND CITATIONS OF AUTHORITY

                                        POINT I

      THE DISTRICT COURT CORRECTLY DISMISSED GRAVES’
      FMLA CLAIM BECAUSE SHE DID NOT NOTIFY
      BRANDSTAR OF HER NEED FOR FMLA LEAVE.

      The FMLA permits eligible employees up to 12 weeks of leave from work

“[i]n order to care for the spouse, or a son, daughter, or parent, of the employee, if

such spouse, son, daughter, or parent has a serious health condition.” See 29 U.S.C.

§2612 (a)(1)(C). An employer may not interfere with, restrain, or deny the exercise

of any right provided under the FMLA. 29 U.S.C. §2615(a)(1). An interference

claim under the FMLA has two elements: (1) the employee was entitled to a benefit




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under the FMLA; and (2) her employer denied her that benefit. See White v. Beltram

Edge Tool Supply, Inc., 789 F.3d 1188, 1191 (11th Cir. 2015).

      A. Employer and Employee Notice Obligations Under the FMLA.

      FMLA regulations impose notice obligations on both employers and

employees. As an initial matter, employers have an obligation to post a general

notice explaining the FMLA’s provisions to employees and, “[i]f an FMLA-covered

employer has any eligible employees, it shall also provide this general notice to each

employee by including the notice in employee handbooks or other written guidance

to employees concerning employee benefits or leave rights, if such written materials

exist, or by distributing a copy of the general notice to each new employee upon

hiring.” 29 C.F.R. §825.300(a).

      If an employer has met its general notice obligations, then it is up to the

employee to provide notice of the employee’s need for FMLA leave to the employer.

Where the need for leave is foreseeable, the employee “shall provide at least verbal

notice sufficient to make the employer aware that the employee needs FMLA-

qualifying leave, and the anticipated timing and duration of the leave.” 29 C.F.R.

§ 825.302. “When the approximate timing of the need for leave is not foreseeable,

an employee must provide notice to the employer as soon as practicable under the

facts and circumstances of the particular case.” 29 C.F.R. § 825.303(c). In either

case, an employer may require that the employee “comply with the employer’s usual



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and customary notice and procedural requirements for requesting leave, absent

unusual circumstances.” 29 C.F.R. § 825.302(d); § 825.303(c).

      If the employee provides proper notice to the employer of the need for FMLA

leave, then the employer must provide two other types of notice to the employee –

eligibility notice and rights and responsibilities notice. “When an employee requests

FMLA leave, or when the employer acquires knowledge that an employee’s leave

may be for an FMLA-qualifying reason, the employer must notify the employee of

the employee's eligibility to take FMLA leave within five business days, absent

extenuating circumstances.” 29 C.F.R. § 825.300(b)(1). Additionally, “[e]mployers

shall provide written notice detailing the specific expectations and obligations of the

employee and explaining any consequences of a failure to meet these obligations.”

29 C.F.R. § 825.300(c)(1).

      It follows that if the employee does not provide notice to the employer of a

need for FMLA leave, the employer’s mere knowledge that the employee’s family

member has a serious health condition does not trigger any further FMLA

obligations on the employer’s part. The Seventh Circuit’s decision in Nicholson v.

Pulte Homes Corp., 690 F.3d 819, 826 (7th Cir. 2012), illustrates this point. The

Nicholson court noted that “if Nicholson provided sufficient notice that she needed

time off to care for her seriously ill parents, then Pulte [the employer] had a duty to

inquire further to confirm Nicholson’s FMLA entitlement.” Id. at 826 (citations



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omitted). However, no such duty arose when Nicholson only informed her

supervisor, Maria Wilhelm, “that she was driving her mother to medical

appointments on her days off and that she could not work outside her normal hours

because of her responsibilities to her parents. Nicholson never indicated that she

needed time off to care for her mother; nor did she describe the seriousness of her

mother’s condition.” Id. (emphasis in original). As for her father, Nicholson told

Wilhelm that his diagnosis had worsened to stage III cancer but did not mention a

possible need for additional time off. Id. at 827. On these facts, the court held that

there was no FMLA interference. Id. “While Wilhelm was alerted to the seriousness

of plaintiff’s father’s health condition, she was not on notice that Nicholson needed

medical leave to care for him.” Id.

      The Nicholson holding not only is consistent with FMLA regulations, but it

also comports with common sense. Employees whose family members have a

serious health condition do not always require leave from work to care for them. If

the employee does not request leave from work, the employer has no reason, and no

obligation under the FMLA, to provide eligibility notice and rights and

responsibilities notice to the employee. As we shall see, that is exactly what

happened in this case.




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        B. BrandStar Met its General Notice Obligations to Graves.

        BrandStar met its general notice obligations to Graves upon hiring by

providing to her BrandStar’s Employee Handbook, which a contained a FMLA

policy. [Doc. 22-1, pp. 24-25, Doc. 22-2, p. 59 (DEF 246)]2 The policy expressly

applied to leave for the serious health condition of family members. [Doc. 22-2, p.

59 (DEF 246)] The policy required that employees fill out two forms, to be provided

by the Human Resources Department, when they request FMLA leave – a FMLA

Medical Certification Form (to be completed by the healthcare provider) and a

FMLA notification form. [Doc. 22-2, p. 59 (DEF 246)] In her brief, Graves does not

dispute that BrandStar met its general notice obligations. See Brief at 14 (stating that

only eligibility notice and rights and responsibilities notice are relevant in this case).

        Graves argues that BrandStar failed to provide eligibility notice and rights and

responsibilities notice to Graves. [Brief at 18] But in order for this Court to reach

that conclusion, it would first have to find that Graves met her obligation to notify

BrandStar of her need for FMLA leave. As explained below, the record permits no

such finding.




2
 To avoid confusion, when an exhibit to Graves’ deposition is cited, BrandStar cites
to the page number in the record where the exhibit is located as well as the Bates
number of the document, e.g., “DEF 246”.

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      C. Graves Failed to Notify BrandStar of a Need for FMLA Leave in
         Connection with Her Trip to Pennsylvania in Early May 2018.

      On Wednesday, May 2, 2018, Graves notified several BrandStar employees,

including her supervisors Aharon Bettan and Arash Farsi, that she was “planning to

fly out to see my dad in PA tomorrow morning” because he was “in ICU” [Doc. 22-

1, pp. 140-141, Doc. 22-2, p. 47 (DEF 171)] Graves claims she did not work on May

3 or 4, 2018, although Bettan later emailed Graves to inquire why she clocked in on

those days. [Doc. 22-1, p. 141, Doc. 22-2, p. 54 (DEF 187)] Graves claims she

“accidentally” clocked in on those days because she had problems using the

timekeeping application on her phone. [Doc. 22-1, pp. 141-144] Graves admits that

if BrandStar’s Human Resources Consultant, Kayla Patregnani, had checked to see

if Graves was working while in Pennsylvania, she would have seen Graves logged

in to the system. [Doc. 22-1, pp. 145] Graves did not correct her error until May 14,

2018, when Bettan instructed her to submit her time for May 3 and 4 as paid time

off (“PTO”). [Doc. 22-2, p. 54 (DEF 187)] Even then, Graves did not ask Patregnani

for the forms needed to request FMLA leave as required by the company’s FMLA

policy. [Doc. 22-1, pp. 26-28]

      Because Graves merely informed her supervisors that she was planning to “fly

out to see my dad” because he was “in ICU”, BrandStar was not on notice that

Graves needed to care for him. See Beqiri v. Nelco, Inc., No. 3:05-CV-803-H, 2007

U.S. Dist. LEXIS 40447, at *5 (W.D. Ky. June 4, 2007) (“Visiting a parent in the

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hospital does not entitle one to FMLA leave; rather the person must be ‘needed to

care for’ the parent.”) (citing Fioto v. Manhattan Woods Enterprises LLC, 123 Fed.

Appx. 26, 28 (2nd Cir. 2005)). Additionally, because Graves clocked in to work

remotely on May 3 and 4, BrandStar could not have known then that Graves’

physical absence from BrandStar’s offices was even a leave from work; Graves

sometimes worked remotely. [Doc. 22-1, pp. 41, 45, 51-52, 113] When Bettan

instructed Graves to submit her time for May 3 and 4 as PTO, Graves still failed to

request FMLA forms. In short, the record shows that Graves did not notify BrandStar

of her need for FMLA leave when she traveled to Pennsylvania for two days in early

May 2018.

      D. Even Assuming BrandStar Was Required to Provide Eligibility and
         Rights and Obligations Notice to Graves in Connection with Her Trip
         to Pennsylvania, Graves Received PTO and Was Not Prejudiced.

      When an employee receives all of the FMLA leave to which the employee is

entitled, the employee has no remedy for the employer’s technical violation of the

notice requirement. Ragsdale v. Wolverine World Wide, Inc., 535 U.S. 81, 89, 122

S. Ct. 1155, 1161 (2002). The only exception to this rule is where an employee can

show that the employer’s failure to give the notice caused some prejudice. Ragsdale,

535 U.S. at 90-91; 122 S. Ct. at 1161. See also Demers v. Adams Homes of Northwest

Fla., Inc., 321 F. App’x 847, 849 (11th Cir. 2009). ([E]ven where there may have

been technical violations of the FMLA, those violations are not compensable where



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. . . a plaintiff has failed to demonstrate that he suffered any ‘adverse employment

action.’”).

       Graves received the leave she needed in connection with her trip to

Pennsylvania; in fact, she was paid for the two days she was out. Accordingly, and

because Graves cannot show any prejudice from BrandStar’s alleged failure to notify

her of her FMLA eligibility and rights and obligations, her interference claim as it

relates to her trip to Pennsylvania fails as a matter of law. See Marks v. Orion Med.

Enters., No. 10-20121-CIV-Graham/Torres, 2010 U.S. Dist. LEXIS 151130, at *7

(S.D. Fla. Sep. 29, 2010) (granting summary judgment to defendant where plaintiff

received the leave she requested pursuant to the defendants’ PTO policy and not the

FMLA, and there was no evidence of prejudice to plaintiff).

       E. Graves Failed to Notify BrandStar of a Need for FMLA Leave When
          She Returned from Pennsylvania.

       On May 6, 2018, Graves emailed BrandStar’s Chief Executive Officer, Mark

Alfieri, stating:

        Hi Mark, l just got back from PA where my dad was having emergency
        brain surgery for a tumor. The aggressive throat cancer that he just
        finally recovered from last year has metastasized and formed two
        tumors in his brain. This recent surgery was only able to remove one.
        the other will need to be treated with radiation and intense chemo and
        soon.

        My dad is a Vietnam Vet who was affected by Agent Orange: He spent
        his entire career working in the probation and parole system, since
        retiring he has lived alone in Western PA. He’s the kindest. strongest
        and most stubborn man I’ve ever known and he’s my best friend.

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       Fortunately, I was able to convince him to let me find the best
       oncologists and radiologists in South Florida for this next and
       hopefully final round of treatment, but I will need to move him down
       here asap. Since the last treatment resulted in pneumonia which
       required a portion of his lung to be removed and feeding tube chest
       port to be put in. He nearly died twice.

       The reason I’m telling you this is because I'm hoping you can help.

       I have a 2-car garage that I need to convert into a studio apartment
       and I know that between Ryan/Russ/Edwin/Vince they could
       knock this out in a few days.

       l am hoping you'll see the benefit in allowing them a few days to
       do this within the next couple weeks since we can also turn this
       into a local Military Makeover UFP. There are a few companies I
       can reach out to for materials to help, but l am prepared to pay for
       everything myself, including labor. All l need from you is permission
       to ‘borrow’ the guys. I’m around if you want to give me a call
       otherwise we can discuss Monday. I'm going to be driving him and his
       beloved dog down to FL once he's released from rehab to begin
       treatments.

       Thanks and talk soon, Jess [phone number]

[Doc. 22-1, pp. 21-22, Doc. 22-2, pp. 48 (DEF 172)] (emphasis added).

      Graves argues that in this email, she “revealed her plan to bring her father to

South Florida and her need to provide continuous care,” and that this email therefore

“provided timely and sufficient notice of her need for FMLA leave and notice of her

rights.” [Brief at 16] This argument is specious for two reasons.

      First, Graves’ email to Alfieri was not a request for leave from work. In the

email, Graves advised Alfieri of her father’s medical condition, requested that she



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“borrow the guys” to convert her garage into a studio apartment, and “pitched” a

Military Makeover episode that would feature her father, who was a Vietnam

veteran. Nowhere did Graves say in the email that she needed leave from work. In

fact, Graves admitted in her deposition that she did not want leave from work.

According to Graves, “I just wanted to be able to keep working… I had no problem

working.” [Doc. 22-1, p. 115]

      While an employee need not expressly assert a right under the FMLA or even

mention the FMLA, see 29 C.F.R. § 825.302(c), “the notice must be ‘sufficient to

make the employer aware that the employee needs FMLA-qualifying leave, and the

anticipated timing and duration of the leave.’” Cruz v. Publix Super Mkts., Inc., 428

F.3d 1379, 1383 (11th Cir. 2005) (quoting 29 C.F.R. § 825.302(c)). Graves’ email

to Alfieri was plainly insufficient under this standard.

      Second, even if Graves had requested leave, preparations to move her father

to Florida did not constitute “care” as that term is understood under the FMLA.

FMLA regulations define “care” for a family member as follows:

      The medical certification provision that an employee is “needed to care
      for” a family member encompasses both physical and psychological
      care. It includes situations where, for example, because of a serious
      health condition, the family member is unable to care for his or her own
      basic medical, hygienic, or nutritional needs or safety, or is unable to
      transport himself or herself to the doctor, etc. The term also includes
      providing psychological comfort and reassurance which would be
      beneficial to a child, spouse or parent with a serious health condition
      who is receiving inpatient or home care.



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      The term also includes situations where the employee may be needed
      to fill in for others who are caring for the family member, or to make
      arrangements for changes in care, such as transfer to a nursing home.

29 C.F.R. § 825.124.

      “The foregoing language makes clear that the FMLA does not provide leave

to cover any activity intended to assist a family member.” Taylor v. Odom’s Tenn.

Pride Sausage, Inc., No. 4:08CV02833 SWW, 2010 U.S. Dist. LEXIS 21172, at *18

(E.D. Ark. Mar. 8, 2010) (emphasis supplied). In Taylor, the court held that the

employee’s actions in helping out his father tear out floors and repair doors to “pick

the house up again” was not “care” for a family member as contemplated by the

FMLA. Id. Similarly, in Reinholm v. Am. Airlines, No. C07-1429RSL, 2009 U.S.

Dist. LEXIS 41502, at *10 (W.D. Wash. May 15, 2009), the employee wanted

FMLA leave “to fix things up around the house while [his] son was in custody.” The

court held that “[m]aking home repairs under these circumstances is not ‘care’ as

contemplated by the FMLA.” Id. The court noted that “[a]lthough there are a myriad

of ‘family’ issues which might impact an employee’s job performance, not all of

those issues are covered by the FMLA.” Id. at * 11.

      Graves’ father was not even living in Florida in May 2018; he was living in

Pennsylvania and did not move to Florida until August 2018, three months after

Graves’ termination. [Doc. 22-1, pp. 18, 116] Graves’ preparations to move her

father to Florida are not the type of “care” for a family member that is contemplated



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by the FMLA. Accordingly, even if Graves had requested leave from work – which

she did not do – Graves’ preparations to move her father to Florida were not

protected by the FMLA and did not impose any FMLA obligations on BrandStar.

Additionally, although Graves now claims that she was her father’s primary

caregiver, even though he was living in Pennsylvania [Brief at 10, 11, 21], Graves

points to no evidence to suggest that she informed BrandStar of this fact.

      F. Graves’ Employment Was Terminated for Performance Deficiencies
         Unrelated to Any Possible FMLA-Qualifying Event.

      Assuming arguendo that Graves had requested leave to prepare to move her

father to Florida, and further assuming that such preparations constituted “care” for

a family member under the FMLA, or that she informed BrandStar that she needed

leave to “care” for her father remotely, Graves’ interference claim would still fail

because Graves was terminated for poor performance unrelated to her father’s

illness. Specifically, Graves was terminated because of poor communication and

attendance, for not completing her work, and for being disrespectful, and because

her performance was continuing to deteriorate despite numerous counselings from

her supervisors, who were continuing to receive complaints about Graves from her

co-workers. [Doc. 22-4, p. 2] Neither Graves’ proposed project to convert her garage

into an apartment for her father nor Graves’ father’s medical condition had any

bearing on the decision to terminate Graves’ employment. [Doc. 22-4, pp. 2-3] As

the District Court noted, [t]here is no evidence to suggest otherwise despite

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Plaintiff’s claims to the contrary.” [Doc. 44, p. 6] Thus, even assuming arguendo

that BrandStar had a duty to advise Graves of her FMLA eligibility and rights and

obligations, Graves cannot show that BrandStar’s failure to do so resulted in any

adverse employment action. Accordingly, the District Court correctly dismissed

Count III of the Complaint. See Drago v. Jenne, 453 F.3d 1301, 1307 (11th Cir.

2006) (affirming summary judgment where technical violations of the FMLA did

not result in any adverse employment action).

      G. The Eleventh Circuit’s Decisions in Ramji and Munoz Do Not Support
         Graves’ Argument.

      Graves argues that the District Court erred in failing to consider this Court’s

decisions in Ramji v. Hospital Housekeeping Sys., LLC, 992 F.3d 1233 (11th Cir.

2021), and Munoz v. Selig Enterprises, Inc., 981 F.3d 1265, 1276–77 (11th Cir.

2020). Neither decision is helpful to Graves’ case.

      In Ramji, the plaintiff seriously injured her knee while at work on September

15, 2016. 992 F.3d at 1236. The defendant’s FMLA administrator was present when

plaintiff injured herself and handled plaintiff’s workers’ compensation and

workplace-injury forms. Id. at 1243. After an emergency room visit, plaintiff was

excused from work from September 15 through 18. Id. at 1242. On September 23,

plaintiff attended a follow-up appointment with a doctor, who gave her a cortisone

injection in her knee, restricted her to light duty, and referred her to physical therapy

sessions occurring two to three times each week for six to eight weeks. Id. The

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defendant’s FMLA administrator personally accompanied plaintiff to follow-up

medical appointments and the doctor-prescribed physical-therapy sessions. Id. at

1243. Despite these facts, the defendant told plaintiff nothing about her rights under

the FMLA, instead handling the injury solely as a workers’ compensation claim. Id.

at 1236. When the plaintiff was unable to pass an essential-functions test, the

defendant fired the plaintiff. Id. at 1236. The Eleventh Circuit held that defendant

“had real-time, sufficient notice of both her need for leave and the nature of her

health condition” and “her potential qualification for FMLA leave.” Id. at 1243.

Because the defendant failed to offer plaintiff notice of her FMLA rights at any point

during plaintiff’s knee-injury recovery, the court held that a reasonable jury could

conclude that defendant interfered with plaintiff’s FMLA rights. Id. at 1244.

      Ramji stands for the unremarkable proposition that if an employer has reason

to know that an employee’s absence may be FMLA-qualifying, it must provide the

employee with notice of her FMLA rights and cannot rely on the fact that the plaintiff

is receiving workers’ compensation benefits. As noted by the Eleventh Circuit, “the

FMLA does not set up a clash of Titans between itself and workers’ compensation.

So providing workers’ compensation benefits cannot absolve an employer of all

obligations under the FMLA.” Id. at 1237.




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      The facts of the present case are entirely different. Graves was not injured at

work, did not receive workers’ compensation benefits, and did not provide notice to

BrandStar of a FMLA-qualifying leave from work. Ramji is inapposite.

      Munoz is also distinguishable from the present case, although its conclusion

supports the District Court’s ruling. In Munoz, the plaintiff testified that she

informed two vice presidents of the company, Jim Saine and Kent Walker, that she

might have uterine fibroids; that she asked to be accommodated for intermittent

lateness, early departure, or full-day absences as dictated by her condition and

doctor’s appointments; that she told Saine and Walker she needed time off for

exploratory surgery; and that she had been diagnosed with endometriosis and that

she would immediately begin treatment. Id. at 1269. The employer never provided

Munoz with FMLA certification paperwork. Id. The Eleventh Circuit held that

“[t]his failure may well have interfered with Ms. Munoz’s FMLA rights.” Id. at

1274. However, the court went on to hold that Munoz could not prevail on her

interference claim because she could not show harm from this technical violation

because her employer provided her the leave she requested. Id. at 1275. The court

also rejected Munoz’s argument that she was terminated rather than being granted

the opportunity to continue to use intermittent FMLA leave. Id. The court noted that

“Ms. Munoz has not identified any evidence that she was terminated as a result of

Selig’s failure to give her notice of her FMLA rights.” Id.



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      Munoz is distinguishable from the present case on the issue of notice to the

employer. Munoz provided her employer notice of a FMLA-qualifying condition

and asked for leave from work – intermittent or full day absences as well as time off

for exploratory surgery. Graves did not put BrandStar on notice of her need for

FMLA leave. But on the issue of harm, Munoz is applicable to the present case and

supports the District Court’s ruling. That is, even assuming arguendo that BrandStar

was required to give notice to Graves of her FMLA eligibility and rights and

obligations, Graves cannot show harm from this technical violation because Graves

received PTO for her two-day trip to Pennsylvania in early May, and there is no

evidence that Graves was terminated as a result of BrandStar’s failure to give her

such notice.

      In her response to BrandStar’s Motion for Summary Judgment, Graves

speculated that if BrandStar had informed her of her FMLA eligibility upon her

return from Pennsylvania, then she might have elected to take FMLA leave. [Doc.

25, p. 13] In that case, she “would not have had attendance issues” and would not

have been terminated. [Doc. 25, p. 13] But given the undisputed evidence in this

case as to what actually occurred – that Graves did not ask for leave because she

preferred to continue working, that she informed BrandStar that she was preparing

to move her father to Florida (not that she was providing psychological or physical

care for him), and that she was terminated for longstanding attendance and



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performance problems that existed before and after her father became critically ill –

Graves’ speculation as to what might have occurred was insufficient to avoid

summary judgment. See Cordoba v. Dillard's Inc., 419 F.3d 1169, 1181 (11th Cir.

2005) (mere speculation is insufficient to create a genuine issue of material fact).

      H. Graves’ Declaration Does Nothing to Change the Analysis.

      Graves’ final points in section I of her Brief claim concern her declaration.

Graves argues that the District Court failed to accept Graves’ statements in her

declaration that “[o]bviously if my father were physically present in my house I

would be providing future and perhaps more extensive caregiving” and “I was never

informed by anyone at BrandStar that I was eligible for FMLA to care for my father

remotely or in-person.” [Brief at 18-19]

      Graves’ argument ignores the undisputed facts of the case. When Graves

emailed Alfieri on May 6, 2018, her father was still living in Pennsylvania; he was

not physically present in her house. Graves did not move her father to Florida until

August 2018, three months after her termination. [Doc. 22-1, p. 18] And, as noted

above, Graves did not request leave from work following her return from

Pennsylvania in early May. She testified that she did not even want leave from work.

[Doc. 22-1, p. 115] At most, Graves’ email to Alfieri raised the possibility that in

the future – after her garage was converted into an apartment and Graves moved her

father to Florida –she might need time off to provide care for him. That is a far cry



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from putting an employer on notice of a present need for FMLA leave. Again, the

Seventh Circuit’s opinion is Nicholson is instructive:

      While Nicholson did inform Wilhelm of her father’s serious diagnosis,
      she did not communicate that she needed time off to care for him. At
      most, she commented on the possibility that she might in the future have
      a need to take time off to care for her father. But Nicholson herself said
      the matter was “left open-ended” because of uncertainties surrounding
      her father’s need for care. Thereafter, on just one occasion, she asked
      for—and was granted—a day off to attend a doctor's appointment with
      him. There were no leave requests pending when Naatz and Wilhelm
      decided to terminate Nicholson's employment. Nicholson's
      conversations with Wilhelm were too indefinite to put Pulte on FMLA
      inquiry notice.

690 F.3d at 827 (emphasis in original).

      Graves is really asking this Court to impose a new legal obligation on

employers: That once an employer learns an employee’s family member has a

serious health condition, it must inform the employer of her FMLA eligibility – even

if the employee does not ask for leave from work and does not want leave from work,

and even if the family member is living in another state. The FMLA imposes no such

obligation on employers, and this Court should not create one. Under the FMLA,

“the employee must clearly communicate the need for time off.” Lievre v. JRM

Constr. Mgmt., LLC, No. 17-CV-4439 (BCM), 2019 U.S. Dist. LEXIS 161449, at

*35 (S.D.N.Y. Sep. 20, 2019) (emphasis added; citations omitted). “[A]n ‘employer

is not required to be clairvoyant.’” Id. Because Graves did not notify BrandStar that




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she needed time off for a FMLA-qualifying reason, the District Court properly

dismissed Count III of the Complaint.

                                    POINT II

      THE DISTRICT COURT CORRECTLY DISMISSED GRAVES’
      ADA ASSOCIATIONAL DISCRIMINATION CLAIM (COUNT
      I) BECAUSE SHE FAILED TO IDENTIFY ANY EVIDENCE
      THAT HER TERMINATION WAS A RESULT OF HER
      FATHER’S ILLNESS, AS OPPOSED TO HER WELL-
      DOCUMENTED PERFORMANCE DEFICIENCIES.

      Graves’ argument regarding her ADA claim ignores the extensive record in

this case, including the evidence of her longstanding performance deficiencies and

the fact that the person she accuses of discrimination, CEO Mark Alfieri, was not a

decisionmaker as to Graves’ termination.

      The purpose of the associational provision of the ADA is to prevent an

employer from making an unfounded assumption that an employee who has an

association with a disabled person will miss work to care for that person. Columbia

Lawnwood Regional Medical Center, 54 F. Supp.2d 1159, 1165 (S.D. Fla. 1999).

(citing H.R. Rep. No. 101-485, pt.2, at 61-62). The ADA does not require employers

to accommodate nondisabled employees to care for a disabled family member or, in

Graves’ case, to prepare to move that person from one state to another. See Hilburn

v. Murata Elecs. N. Am., Inc., 181 F.3d 1220, 1230-31 (11th Cir. 1999).

      To establish a prima facie case of associational discrimination, a plaintiff must

show that: (1) she was subjected to an adverse employment action, (2) she was

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qualified for the job at that time, (3) she was known by the employer at the time to

have a relative with a disability, and (4) the adverse employment action occurred

under circumstances which raise a reasonable inference that the disability of the

relative was a determining factor in the employer’s decision. Hilburn, 181 F.3d at

1230-31. (quotations and brackets omitted). If a plaintiff establishes a prima facie

case of discrimination and the defendant articulates a legitimate, nondiscriminatory

reason for the adverse employment action, the burden then shifts to the plaintiff to

show that the defendant’s legitimate, nondiscriminatory reason is a pretext for

unlawful disability discrimination. Cusick v. Yellowbook, Inc., 607 F. App'x 953,

955 (11th Cir. 2015) (citing Wascura v. City of S. Miami, 257 F.3d 1238, 1242-43

(11th Cir. 2001)).

      A. Graves Failed to Establish a Prima Facie Case of Associational
         Discrimination.

      Here, there is no evidence to establish the fourth element of the prima facie

case. Graves had a long history of being counseled by her supervisors, Bettan and

Farsi, for poor communication and attendance, for not completing her work, and for

being disrespectful. [Doc. 22-4, p. 2, Doc. 22-1, pp. 58-61, 63-64 and Doc. 22-2, pp.

15, 17-18, 21, 26, 53 (DEF 139, 141-42, 145, 150, 184)] This counseling began long

before Graves’ father became critically ill and continued afterwards. [Doc. 22-1, pp.

118] There is no evidence of any connection between Graves’ performance and

attendance issues, on the one hand, and her father’s illness on the other hand. Indeed,

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during the entire period of Graves’ employment, Graves’ father was living in

Pennsylvania. [Doc. 22-1, p. 116] Graves’ direct supervisor Farsi, who was involved

in the decision to terminate Graves’ employment, confirmed that the decision had

nothing to do with Graves’ father or his illness. [Doc. 22-4, pp. 2-3]

      Graves states that she was her father’s primary caregiver, even though he was

living in Pennsylvania. [Brief at 10, 11, 21] Assuming this is true, Graves points to

no evidence to suggest that she informed BrandStar of this fact, or if she did, that

anyone at the company was troubled by it. In fact, according to her own testimony,

Graves’ attendance issues were not related to caring for her father – they mainly had

to do with taking care of her children because her ex-husband is “not a caregiver.”

[Doc. 22-1, pp. 15-16, 36, 55-56] On other occasions, Graves failed to report to work

because of her own doctor’s appointment or because she was taking care of her aunt.

[Doc. 22-1, pp. 65, 81-82] There is no evidence that BrandStar terminated Graves’

employment because of an unfounded assumption that Graves would miss work to

care for her father, who was living a thousand miles away.

      In her deposition, Graves speculated that BrandStar terminated her because

she was unable to travel due to her father’s future move to Florida [Doc. 22-1, pp.

112-113, 115-116] But even if this theory were true (and there is no evidence

supporting it), it would not support Graves’ claim of associational discrimination

because BrandStar had no duty under the ADA to accommodate Graves’ inability to



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travel. See Hilburn 181 F.3d at 1231. The ADA does not require employers to

accommodate employees acting as caregivers to disabled family members. Id.

      In short, the record demonstrates that Graves’ father’s illness was not a factor

in her termination and that Graves failed to establish a prima facie case of

discrimination.

      B. There is No Evidence that BrandStar’s Reasons for Terminating
         Graves Were Pretextual.

      BrandStar has articulated legitimate, nondiscriminatory reasons for Graves’

termination – poor communication and attendance, not completing her work, and

being disrespectful. Nevertheless, Graves argues that summary judgment should

have been denied because there was a close temporal proximity between her emails

to management concerning her father on May 2 and May 6, 2018, and her

termination a few weeks later. [Brief at 22, 30] However, temporal proximity in the

absence of other evidence is normally insufficient to establish pretext and defeat

summary judgment. Gogel v. Kia Motors Mfg. of Ga., 967 F.3d 1121, 1137 n.15

(11th Cir. 2020).

      No evidence of pretext exists in this case. Graves’ May 2 email concerned a

two-day trip to Pennsylvania that Graves took to visit her father in the hospital in

Pennsylvania. [Doc. 22-1, pp. 141-144, Doc. 22-2, p. 47 (DEF 171)] In the preceding

nine months and in the three weeks that followed that May 2nd email, on more than

ten occasions, Graves’ supervisors counseled Graves and submitted negative

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feedback memoranda and negative performance reviews about Graves’ not being in

the office, not communicating with her supervisors about her schedule, not getting

her work done, being disrespectful, not coming prepared for edit sessions, failing to

ensure that products were on location for shoots, and failing to take responsibility

and deflecting blame. [Doc. 22-1, pp. 58-61, 63-65, 67, 73, Doc. 22-2, pp. 15, 17-

18, 21, 26, 29, 31-32, 34, 36, 53 (DEF 139, 141-42, 145, 150, 153, 155-56, 158, 160,

184), Doc. 22-4, p. 2] On March 14, 2018, Graves’ supervisor Aharon Bettan noted

in the conclusion of a lengthy “negative feedback” note about Graves: “She is just

very difficult to work with and I’m not sure how we can make this work any longer.”

[Doc. 22-2, p. 34 (DEF 158)] In light of this undisputed evidence, it is fanciful to

suggest that Graves’ two-day trip to visit her father in the hospital, for which she

received PTO, was the cause of her termination. Even assuming arguendo that it

was, BrandStar had no duty under the ADA to accommodate Graves’ absences from

work to visit her father. See Hilburn, 181 F.3d 1230-31.

      As for the May 6 email to BrandStar’s CEO, Mark Alfieri, there is no evidence

to suggest that this email had any causal connection to Graves’ termination. It is

undisputed that Graves was informed of her termination on May 25, 2018, and that

the decision was made by Graves’ supervisors, Bettan and Farsi. [Doc. 22-4, p. 2]

Alfieri was not a decisionmaker. Alfieri testified in his deposition about a meeting

he had with Graves after she had been terminated, a decision in which he was not



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involved. [Doc. 25-3, p. 11] Since Alfieri was not involved in the termination

decision, there can be no finding of any causal connection between Graves’ May 6

email to Alfieri and her subsequent termination. Summary judgment on Count I was

warranted.

                                    POINT III

      THE DISTRICT COURT DID NOT IMPERMISSIBLY WEIGH
      EVIDENCE.

      Graves argues in section III of her brief that the District Court “construed

inferences derived from facts in favor of Appellee and against Appellant.” [Brief at

23] Graves cites two alleged examples of this, neither of which supports her case.

      First, Graves argues that the District Court failed to accept Graves’ statement

that “I was never informed by anyone at BrandStar that I was eligible for FMLA to

care for my father remotely or in-person.” [Brief at 23] (emphasis added). But in its

Order, the District Court was addressing a different contention by Graves – that

“Defendant failed to advise Plaintiff of her rights under the FMLA.” [Doc. 44:12]

(emphasis added). Graves did, in fact, contend in her Response to Defendant’s

Motion for Summary Judgment that “she was generally unaware of her FMLA

rights.” [Doc. 25:10] The District Court noted correctly that Graves received

BrandStar’s Employee Handbook, which contained the company’s FMLA policy.

[Doc. 44:12] The policy expressly applied to leave for the serious health condition

of family members. [Doc. 22-2, p. 59 (DEF 246)] In other words, the District Court

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was addressing the fact that BrandStar met its FMLA general notice obligations to

Graves.

      It is true that BrandStar did not notify Plaintiff of her eligibility under the

FMLA. But as explained above in Point II, BrandStar had no reason, and no

obligation, to do so because Graves never notified BrandStar of her need for FMLA

leave. See 29 C.F.R. §825.300(b)(1) (“When an employee requests FMLA leave, or

when the employer acquires knowledge that an employee's leave may be for an

FMLA-qualifying reason, the employer must notify the employee of the employee’s

eligibility to take FMLA leave within five business days, absent extenuating

circumstances.”) (emphasis added). This was the basis of the District Court’s

decision to grant summary judgment on Count III of the Complaint: “Plaintiff did

not provide the requisite notice to Defendant of her need for FMLA leave.” [Doc.

44:12] This decision was correct.

      Second, Graves argues that “the trial court somewhat sarcastically discredited

the Plaintiff’s evidence that she had traveled to attend to her father’s emergency

surgery and had attempted to claim PTO time for the two days she was out.” [Brief

at 23] The “sarcasm” Graves points to seems to relate to the District Court’s use of

quotation marks in stating that Graves ‘“accidentally’ clocked in on those days

because she had problems using the timekeeping application on her phone. [Doc. 44,

p. 4] Graves testified that she “accidentally clocked in” on those days. [Doc. 22-1,



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p. 144] It appears that the District Court was simply quoting Graves or Defendant’s

Motion for Summary Judgment (which also used the quotation marks) [Doc. 21, p.

7], rather than sarcastically discrediting her on a point that BrandStar did not even

dispute. To be clear, whether Graves intentionally or accidentally clocked in those

days is irrelevant. The relevant point is that because she clocked in, BrandStar could

not have known that she needed leave from work. And even after correcting her error

and designating those days as PTO, Graves still failed to request FMLA leave as

required by BrandStar’s policy. See 29 C.F.R. § 825.302(d); § 825.303(c) (an

employer may require that the employee “comply with the employer’s usual and

customary notice and procedural requirements for requesting leave, absent unusual

circumstances.”).

                                  CONCLUSION

      For the foregoing reasons, the District Court correctly granted BrandStar

summary judgment on each count of Plaintiff’s Complaint. The District Court’s

decision should therefore be affirmed.




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                                                    /s/ Richard D. Tuschman
                                                    Counsel for Appellee
                                                    February 3, 2022




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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 3, 2022, I electronically filed the
foregoing document with the Clerk of the Court using the CM/ECF filing system. I
also certify that the foregoing document is being served via Federal Express this date
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